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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF GEORGIA
                   STATESBORO DIVISION


CHARLES ANTHONY WILLIS,               )
    Movant,                           )
v.                                    )       Case No. CV612-089
                                      )
UNITES STATES OF AMERICA,             )
     Respondent.                      )

                               ORDER
      Let a copy of this Report and Recommendation be served upon movant
and counsel for respondent. Any objections to this Report and
Recommendation must be filed with the Clerk of Court not later than February
13, 2013. The Clerk shall submit this Report and Recommendation together
with any objections to the Honorable B. Avant Edenfield, United States
District Judge, on February 14, 2013. Failure to file an objection within the
specified time means that this Report and Recommendation may become the
opinion and order of the Court, Nettles v. Wainwright, 677 F.2d 404 (5th Cir.
1982), and further waives the right to appeal the District Court's Order.
Thomas v. Arn, 474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned.
      SO ORDERED this 30th day of January, 2013.
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                                          UNITED STATES MAGISTRATE JUDGE
                                          SOUThER}'T DISTRICT OF GEORGIA
